      Case 1:24-cv-04844-CBA-RML Document 2-1 Filed 07/12/24 Page 1 of 2 PageID #: 127

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

                                                                        )
                      Emma Parkinson,                                   )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                          Civil Action No. 24-cv-4844
                                                                        )
                                                                        )
  Nowsta, Inc., Nowsta Labor Marketplace LLC, and
                                                                        )
                   Nicholas Lillios,
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                                           Nowsta Labor Marketplace LLC
                                           Corporation Service Company
                                           251 Little Falls Drive
                                           Wilmington, DE 19808




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Laura H. White, Esq.
                                           White & Quinlan, LLC
                                           62 Portland Road, Suite 21
                                           Kennebunk, Maine 04043
                                           (207) 502-7484


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//" #.")0/&:
                                                                               CLERK OF COURT


Date:    07/12/2024
                                                                                         Signature of Cl
                                                                                                      Clerk or Deputy Clerk
       Case 1:24-cv-04844-CBA-RML Document 2-1 Filed 07/12/24 Page 2 of 2 PageID #: 128

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 24-cv-4844

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
